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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,                                     Civil Action No. 18-cv-5622 (PKC)

      Plaintiff,
                                                            CORPORATE DISCLOSURE
v.                                                         STATEMENT BY CRAW FORD
                                                               AND O’BRIEN LLC
COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS,et al.,

               Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1,Defendant states that there is no parent

corporation or publicly held corporation owning 10% or more of its membership interest.

                                             RESPECTFULLY SUBMITTED,

Dated: December 17,2018                      /s/ Steven M. Richman/
                                             Steven M. Richman
                                             /s/ Boris Brownstein/
                                             CLARK HILL PLC
                                             830 Third Avenue
                                             Suite 200
                                             New York ,NY 10022
                                             Phone: (212)709-8084

                                             210 Carnegie Center,Suite 102
                                             Princeton,NJ 08540
                                             Phone: (609)785-2911
                                             Email: srichman@ clarkhill.com
                                             Counsel for Defendant Crawford and O’Brien LLC


                                CERTIFICATE OF SERVICE

        I,Steven M. Richman,of full age,certify that on December 17,2018,I caused a copy of
this Disclosure Statement to be served via ECF on all counsel of record registered for electronic
service.

                                                     s/Steven M. Richman/



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